Case 2:17-cv-02672-MCE-EFB Document 69-4 Filed 10/05/18 Page 1 of 3



                           Exhibit 3
           Case 2:17-cv-02672-MCE-EFB Document 69-4 Filed 10/05/18 Page 2 of 3

YOUR TEAM
Philip Clifford QC


Philip Clifford QC is recognized as one of London’s leading
international arbitration counsel. He has served as Global Co-
Chair of the International Arbitration Practice and Chair of the
London Litigation & Trial Department, and is both a United
Kingdom representative on the ICC Commission on                                             Partner, London

Arbitration and co-author of a leading book on the LCIA                                     T +44.20.7710.1861
Arbitration Rules. A Fellow of the Chartered Institute of                                   E philip.clifford.qc@lw.com

Arbitrators, Mr. Clifford also sits as an arbitrator, giving him a
valuable dual perspective on resolving disputes. Mr. Clifford is                            Education
                                                                                            M.Sc. (Arbitration and Construction),
referred to in The Legal 500 as “one of the best in the                                     King's College London
profession” and in Chambers as “a pleasure to work with and                                 MA (Law), Oxford University, (Scholar)
extremely adept at resolving cross-border disputes”.                                        Bar Qualifications
                                                                                            England and Wales (Solicitor), England
                                                                                            and Wales (Solicitor-Advocate)
Profile                                        nuclear facilities to the treatment of       Recognition Highlights
Mr. Clifford has over 25 years’                nuclear material and                         Mr. Clifford is recognised in major legal
experience of resolving some of the            decommissioning                              guides as a leading arbitration
                                                                                            practitioner.
largest and most complex                   Joint ventures and shareholders
                                                                                            Chambers recognizes Mr. Clifford as a
international disputes through
                                                                                            key individual for international arbitration
arbitration and related court litigation   ■   A broad range of joint venture and           and quotes a source describing him as “a
in England and elsewhere. He has               shareholder disputes in Europe, the          pleasure to work with and extremely
                                                                                            adept at resolving cross-border disputes.”
particular expertise in disputes arising       Middle-East, Far-East, and Asia              The Legal 500 notes that he is "one of the
out of the power, oil and gas, and         Mergers and acquisitions                         best in the profession" and is “renowned
construction industries.                                                                    for energy cases”.

                                           ■   Sovereign wealth fund corporate              Mr. Clifford is a regular speaker and
Experience                                                                                  author on arbitration topics. He has
                                               acquisition disputes in Europe and           lectured on arbitration at numerous
Mr. Clifford's representative                  the Middle East                              conferences, at the British Institute of
experience includes:                                                                        International and Comparative Law and
                                           ■   Financial institution disputes over          at University College London, and was a
                                               share sales, redemptions, and                member of the DIFC working party for its
Oil, gas, and power                                                                         new arbitration law. Mr. Clifford is also a
                                               financial instruments in Europe, the
                                                                                            member of LexisNexis’ Consulting
                                               Middle East, and Asia                        Editorial Board for Dispute Resolution.
■   Natural gas and LNG disputes:
                                           ■   Telecommunications disputes in
    from price re-openers to
                                               Europe and Asia                          Investment treaties
    engineering and construction
                                           Directors' duties and fraud
■   Oil related disputes: such as the                                                   ■   Arbitrations under bilateral
    construction of pipelines, drilling                                                     investment treaties relating to the
    equipment, refineries, and
                                           ■   Madoff US$65 billion fraud:
                                               representing financial institutions          Middle East, South America, and
    petrochemical complexes in Africa,                                                      Central Europe
    Asia, and the Caribbean                    and directors in proceedings and
                                               investigations in the United States,     Enforcement proceedings
■   Power project disputes: such as the
                                               the Cayman Islands, and Europe
    engineering, construction, and
                                           ■   Liquidators: acting for and against      ■   Pursuing and resisting the
    operation of power projects in the
                                               them in connection with                      enforcement of arbitral awards and
    Middle East, Far East, and Asia
                                               enforcement actions and                      foreign judgments in England and
■   Nuclear disputes: from the                                                              elsewhere
                                               allegations of fraud
    construction and operation of
                                                                                        ADR and dispute management


                                                                                                                                           4
           Case 2:17-cv-02672-MCE-EFB Document 69-4 Filed 10/05/18 Page 3 of 3

YOUR TEAM continued
Philip Clifford QC

■   Conducting mediations spanning a
    range of commercial disputes
■   Advising as to risk and dispute
    avoidance and management




                                                                                 5
